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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT COURT OF OREGON
                                 PORTLAND DIVISION


 JUSTIN BURLEY-BEAVERS,                         *
 an individual,                                 *
                                                *
           PLAINTIFF,                           *
 v.                                             *
                                                *      Case No. 3:24-CV-00992
 THE MASTER WRENCH, INC.,                       *
 a corporation,                                 *
                                                *
           DEFENDANT.                           *



                                           COMPLAINT

           Plaintiff Justin Burley-Beavers (“Burley-Beavers” or “Plaintiff”) hereby sues Defendant,

THE MASTER WRENCH, INC., a corporation, (hereinafter “Defendant”) pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its implementing

regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as

follows:

                                 PRELIMINARY STATEMENT

       1.        Though not required by the ADA, Plaintiff attempted to resolve this matter prior

to filing the present complaint but was unable to do so.

       2.        Defendant’s ADA violations create real and significant barriers to entry for

disabled persons such as Plaintiff. Pursuant to Title III of the ADA, Plaintiff seeks declaratory

and injunctive relief requiring Defendant to (1) remedy the violations identified herein and (2)

enact and adhere to a policy that ensures the proper maintenance of the property to avoid future

ADA violations.

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                                  JURISDICTION AND PARTIES

        3.       This is an action for declaratory and injunctive relief pursuant to Title III of the

ADA. This Court is vested with original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant, THE

MASTER WRENCH, INC.’s, failure to remove physical barriers to access and violations of Title

III of the ADA.

        4.       Venue is properly located in the DISTRICT COURT OF OREGON IN THE

PORTLAND DIVISION pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district

of the property situs or the judicial district in which a substantial part of the events or omissions

giving rise to Plaintiff’s claims occurred. The Defendant’s property is located in and does business

within this judicial district and all events giving rise to this lawsuit occurred in this judicial district.

        5.       Plaintiff, Justin Burley-Beavers, is and has been at all times relevant to the instant

matter, a natural person residing in Oregon and is sui juris.

        6.       Plaintiff is an individual with disabilities as defined by the ADA.

        7.       Plaintiff is substantially limited in performing one or more major life activities,

including but not limited to: walking and standing.

        8.       Plaintiff uses a wheelchair for mobility purposes.

        9.       Plaintiff is also an independent advocate of the rights of similarly situated disabled

persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Plaintiff’s motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make his home community more accessible for Plaintiff and others; and pledges to do

whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so an


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injunction can be issued correcting the numerous ADA violations on the Subject Property,

including returning to the Subject Property as soon as it is accessible (“Advocacy Purposes”).

       10.     Defendant, THE MASTER WRENCH, INC., is a corportation conducting business

in the State of Oregon and within this judicial district.

                                   FACTUAL ALLEGATIONS

       11.     On or about November of 2023, Plaintiff attempted to but was deterred from

 patronizing and/or gaining equal access as a disabled patron to the Master Wrench Inc. located at

 9803 Southwest Barbur Boulevard, Portland, OR 97219 (“Subject Facility”, “Subject Property”).

       12.     THE MASTER WRENCH, INC. is the owner, lessor, and/or operator/lessee of the

real property and improvements that are the subject of this action, specifically the Master Wrench

Inc. and its attendant facilities, including vehicular parking and common exterior paths of travel

within the site identified by the Multnomah County Assessor parcel identification number

P414287 (“Subject Facility”, “Subject Property”).

       13.     Plaintiff lives within thirty (30) miles of the Subject Property. Because the Subject

Property is located on Pacific Hwy, a Multnomah County thoroughfare that he frequents routinely,

he is often where the Subject Property is located and travels in and about the immediate area of

the Subject Property numerous times every month, if not every week.

       14.      Plaintiff’s access to the Subject Property and/or full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of his disabilities, and he will be denied and/or limited in the future

unless and until Defendant, THE MASTER WRENCH, INC., is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property, including those

set forth in this Complaint.


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       15.     Plaintiff has visited, i.e. attempted to patronize, the Subject Property on multiple

prior occasions, and at least once before as a patron and advocate for the disabled. Plaintiff intends

on revisiting the Subject Property within six months of the filing of this Complaint or sooner, as

soon as the barriers to access detailed in this Complaint are removed. The purpose of the revisit is

to be a regular patron to determine if and when the Subject Property is made accessible, and to

maintain standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Subject Property to enjoy the same experiences,

goods, and services available to Defendant’s non-disabled patron as well as for Advocacy

Purposes, but does not intend to continue to repeatedly re-expose himself to the ongoing barriers

to equal access and engage in the futile gesture of attempting to patronize the Subject Property, a

business of public accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

       17.     Plaintiff recently traveled to the Subject Property as a patron and as an independent

advocate for the disabled, encountered and/or observed the barriers to access that are detailed in

this Complaint, engaged those barriers where physically possible, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to equal

access present at the Subject Property.

       18.     Plaintiff has a fundamental right as established under the ADA to patronize any

place of public accommodation as any person who is not disabled has.

       19.      Plaintiff’s day-to-day life has been negatively affected by the barriers to entry at

the Subject Property, as his fundamental right to patronize any place of public accommodation at

his choosing has been diminished by Defendant’s non- compliance with the ADA.




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       20.     Plaintiff has no obligation to only patronize places of public accommodation that

are ADA compliant.

       21.     If barriers to entry are not removed at the Subject Property, it will place undue

hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to “search” for a place of

public accommodation to patronize that is ADA compliant.

                      COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                         (Against Defendant for ADA Violations)

       22.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993, if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       23.     The Subject Property is a public accommodation and service establishment.

       24.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice and Office of Attorney General promulgated federal regulations to implement the

requirements of the ADA. 28 C.F.R. Part 36.

       25.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       26.     The Subject Property must be, but is not, in compliance with the ADA and the

ADAAG.

       27.     Plaintiff has attempted to, and has to the extent possible, accessed the Subject

Property in his capacity as a patron at the Subject Property and as an independent advocate for

the disabled, but could not fully do so because of his disabilities resulting from the physical

barriers to access, dangerous conditions and ADA violations that exist at the Subject Property

that preclude and/or limit his access to the Subject Property and/or the goods, services, facilities,

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privileges, advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.     Plaintiff intends to visit the Subject Property again in the very near future as a

patron and as an independent advocate for the disabled, in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly offered to able-

bodied patrons of the Subject Property but will be unable to fully do so because of his disability

and the physical barriers to access, dangerous conditions and ADA violations that exist at the

Subject Property that preclude and/or limit his access to the Subject Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this Complaint.

      29.     Defendant, THE MASTER WRENCH, INC., has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Subject Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

      30.     Defendant, THE MASTER WRENCH, INC., will continue to discriminate against

Plaintiff and others with disabilities unless and until THE MASTER WRENCH, INC. is

compelled to remove all physical barriers that exist at the Subject Property, including those

specifically set forth herein, and make the Subject Property accessible to and usable by Plaintiff

and other persons with disabilities.

      31.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Subject Property and the full and equal enjoyment of the goods, services, facilities,


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privileges, advantages and accommodations of the Subject Property include, but are not limited

to:


                            ACCESSIBLE ROUTES/PARKING


             a. There are no designated accessible parking spaces present in the
                 parking facility servicing the Subject Property in violation of
                 Section 4.1 and 4.6 of the 1991 ADAAG and Section 208 and
                 208.2 of the 2010 ADAAG.

             b. There is no van-accessible parking present in violation of
                 Section 4.6 of the 1991 ADAAG and Section 502 of the 2010
                 ADAAG.

             c. There are no access aisles serving the parking spaces closest to
                 the entrance in violation of Section 4.6 of the 1991 ADAAG and
                 Sections 208 and 502 of the 2010 ADAAG.

             d. There is no van-accessible parking identified as such with
                 upright “Van Accessible” signage in violation of Section 4.6 of
                 the 1991 ADAAG and Sections 208, 302 and 502 of the 2010
                 ADAAG.

             e. The is no visible upright signage (displaying the International
                 Symbol of Accessibility) designating parking spaces as
                 accessible in violation of Section 4.6 of the 1991 ADAAG and
                 Section 502 of the 2010 ADAAG.

             f. The paint delineating the parking spaces closest to the entrance
                 is not being maintained so that it clearly marks the accessible
                 parking location in violation of 28 CFR § 36.211, Section 4.6 of
                 the 1991 ADAAG, and Section 502.3.3 of the 2010 ADAAG.

             g. The accessible entrance does not provide the minimum requisite
                 level maneuvering clearance for a forward approach to the pull
                 side of the designated accessible entry door in violation of
                 Section 4.13.6 of the 1991 ADAAG and Section 404.2.4 of the
                 2010 ADAAG.



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    h. There is no curb ramp present along the route from the parking
       spaces to the entrance of the store in violation of Section 303.4
       of the 2010 ADAAG and in violation of 28 CFR § 36.211.

    i. There is no accessible route provided within the site from the
       public sidewalk that serves the Subject Facility. Violation: There
       is no accessible route connecting the public sidewalk serving the
       subject facility and any accessible entrance(s) in violation of
       Section 4.3.2 of the 1991 ADAAG and Section 206.2.1 of the
       2010 ADAAG.

    j. The plaintiff could not safely traverse the path of travel from the
       parking facility to the store entrance due to the nature and extent
       of the architectural barriers that exist in the parking facility and
       the path of travel to the storefront curb from the parking lot and
       from the parking lot to the entrance. This property has no
       accessible route for wheelchair users in violation of Section
       4.3.2 of the 1991 ADAAG and Section 403.5 of the 2010
       ADAAG.

    k. The sales counter is too high for wheelchair users. Violation:
       The sales counter exceeds the maximum allowable height of 36
       inches from the finish floor in violation of Section 7.2 of the
       1991 ADAAG and Sections 227.3 and 904.4 of the 2010
       ADAAG.


                        MAINTENANCE PRACTICES

    a. Defendant has a practice of failing to maintain the accessible
       features of the facility, creating barriers to access for the
       Plaintiff, as set forth herein, in violation of 28 CFR § 36.211.
       This practice prevented access to the plaintiff equal to that of
       Defendant’s able-bodied customers causing Plaintiff loss of
       opportunity.

    b. Defendant has a practice of failing to maintain the accessible
       elements at the Subject Facility by neglecting their continuing
       duty to review, inspect, and discover transient accessible
       elements which by the nature of their design or placement,
       frequency of usage, exposure to weather and/or other factors, are


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                  prone to shift from compliant to noncompliant so that said
                  elements may be discovered and remediated.

               c. Defendant has failed and continues to fail to alter their
                  inadequate maintenance practices to prevent future recurrence
                  of noncompliance with dynamic accessible elements at the
                  Subject Facility in violation of 28 CFR § 36.211, the 1991
                  ADAAG, and the 2010 ADAAG. These violations, as set forth
                  hereinabove, made it impossible for Plaintiff to experience the
                  same access to the goods, services, facilities, privileges,
                  advantages and accommodations of the Subject Facility as
                  Defendant’s able-bodied patrons and caused Plaintiff loss of
                  opportunity.

               d. Defendant has failed to modify their discriminatory maintenance
                  practices to ensure that, pursuant to their continuing duty under
                  the ADA, the Subject Property remains readily accessible to and
                  usable by disabled individuals, including Plaintiff, as set forth
                  herein, in violation of 28 CFR § 36.302 and 36.211. This failure
                  by Defendant prevented access to the plaintiff equal to that of
                  Defendant’s able-bodied customers causing Plaintiff loss of
                  opportunity.

       32.     The discriminatory violations described above are not an exhaustive list of the

Defendant’s current barriers to equal access and violations of the ADA because Plaintiff was

unable to access and assess all areas of the subject premises due to the architectural barriers

encountered. A complete list of the subject location’s ADA violations affecting the Plaintiff as a

wheelchair user, and the remedial measures necessary to remove same, will require an on-site

inspection by Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, has actual notice that the Defendant

does not intend to comply with the ADA.

       33.     The Defendant has a practice of failing to maintain the accessible elements at the

Subject Property by neglecting their continuing duty to review, inspect, and discover transient

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accessible elements which by the nature of its design or placement, frequency of usage, exposure

to weather and/or other factors, are prone to shift from compliant to noncompliant, so that said

elements are discovered and remediated. Defendant has failed and continue to fail to alter their

inadequate maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and 36.211. These

violations, as referenced hereinabove, made it impossible for Plaintiff, as a wheelchair user, to

experience the same access to the goods, services, facilities, privileges, advantages and

accommodations of the Subject Property as Defendant’s able-bodied patrons.

       34.     Accessible elements at the Subject Property have been altered and/or constructed

since 2010.

       35.     The foregoing violations are violations of the 1991 ADAAG, and the 2010

ADAAG, as adopted by the U.S. Department of Justice. In instances where the 2010 ADAAG

standards do not apply, the 1991 ADAAG standards apply, and all of the alleged violations set

forth herein can be modified to comply with the 1991 ADAAG standards.

       36.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.     Each of the violations alleged herein is readily achievable to modify to bring the

Subject Property into compliance with the ADA.

       38.     Removal of the physical barriers and dangerous conditions present at the Subject

Property is readily achievable because of the site conditions at the Subject Property, the structural

design of the subject facility, and the straightforward nature of the necessary modifications.




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       39.     To assist businesses in offsetting the costs associated with complying with the ADA

and removing barriers to access for individuals with disabilities, Section 44 of the IRS Code

provides a tax credit for small business owners, and Section 190 of the IRS Code provides a tax

deduction for all business owners, including the Defendant.

       40.     Removal of the physical barriers and dangerous conditions at the Subject Property

is readily achievable because of the relative low cost of the necessary modifications and the

Defendant has the financial resources to make the modifications, including the financial assistance

made available to Defendant by the government pursuant to Section 44 and/or Section 190 of the

IRS Code.

       41.     By continuing to maintain and/or operate the Subject Property with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of isolation and

segregation and deprive Plaintiff of the full and equal enjoyment of the goods, services, facilities,

privileges, and accommodations available to able bodied individuals of the general public.

       42.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for their places of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); additionally, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then Defendant

is required to ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant’s facilities must be readily accessible to and useable by individuals with disabilities

as defined by the ADA. To date, Defendant has failed to comply with this mandate.


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       43.     Plaintiff is without adequate remedy at law and is suffering irreparable harm and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

THE MASTER WRENCH, INC., is required to remove the physical barriers, dangerous conditions

and ADA violations that exist at the Subject Property, including those alleged herein. Considering

the balance of hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

       44.     Plaintiff’s requested relief serves the public interest.

       45.     Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees and costs of

litigation from Defendant, THE MASTER WRENCH, INC., pursuant to 42 U.S.C. §§ 12188,

12205 and 28 CFR 36.505. Plaintiff will be denied full and equal access to the subject premises,

as provided by the ADA unless the injunctive relief requested herein is granted.

       46.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

Plaintiff injunctive relief; including an Order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed, and ordering

Defendant to fulfill their continuing duty to maintain the accessible features at the premises in the

future as mandated by 28 CFR 36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.      That the Court find Defendant, THE MASTER WRENCH, INC., in
               violation of the ADA and ADAAG;

       B.      That the Court enter an Order requiring Defendant, THE MASTER
               WRENCH, INC., to (i) remove the physical barriers to access and
               (ii) alter the Subject Property to make the Subject Property readily
               accessible to and useable by individuals with disabilities to the full
               extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant, pursuant to 28
               C.F.R. §36.211, to fulfill their continuing duty to maintain their
               accessible features and equipment so that the facility remains

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              accessible to and useable by individuals with disabilities to the full
              extent required by Title III of the ADA;

       D.     That the Court enter an Order directing Defendant to implement and
              carry out effective policies, practices, and procedures to maintain
              the accessible features and equipment pursuant to 28 C.F.R. §36.302
              and 28 C.F.R. §36.211.

       E.     That the Court enter an Order directing Defendant to evaluate and
              neutralize their policies and procedures towards persons with
              disabilities for such reasonable time so as to allow them to undertake
              and complete corrective procedures;

       F.     An award of attorneys’ fees, costs (including expert fees), and
              litigation expenses pursuant to 42 U.S.C. § 12205 and an award of
              monitoring fees associated with insuring that the Defendant is in
              compliance with the ADA.

       G.     An award of interest upon the original sums of said award of
              attorneys’ fees, costs (including expert fees), and other expenses of
              suit; and

       H.     Such other relief as the Court deems just and proper, and/or is
              allowable under Title III of the Americans with Disabilities Act.




Dated this June 21, 2024


                                     Respectfully submitted,

                                     By: /s/ Jessica Molligan_______
                                     Jessica Molligan, Esq.
                                     Counsel for Plaintiff




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